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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 FAIR FIGHT ACTION, INC, et al.,
      Plaintiffs,
      v.
 BRAD RAFFENSPERGER, et al.,                         Civil Action No.
   Defendants.                                       1:18-cv-05391-SCJ




     PLAINTIFFS’ ATTACHMENT C (STATEMENT OF THE CASE)

I.   Plaintiffs’ Factual Statement

      This case is about Georgians’ right to vote. Plaintiffs contend that

Defendants the Georgia Secretary of State (SOS), the State Election Board (SEB)

and the SEB members are denying and abridging Georgians’ right to vote through:

(1) the SOS’s “Exact Match” policy and its application; (2) extensive

mismanagement of the statewide voter registration list; and (3) non-uniform and

improper practices regarding in-person cancellation of absentee ballots. These

three policies and practices violate federal law, as follows:

       The Exact Match policy and its application: (a) violate the fundamental

          right to vote as guaranteed by the First and Fourteenth Amendments;

          (b) racially discriminate against Georgians of color in violation of the
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         Fifteenth Amendment and the Equal Protection Clause of the Fourteenth

         Amendment; (c) discriminate against Georgians based on where they live

         and based on naturalized citizenship status in violation of the Equal

         Protection Clause of the Fourteenth Amendment; and (d) deny or abridge

         the right to vote in violation of the Voting Rights Act.

       Defendants’ extensive mismanagement of the statewide voter registration

         list violates Georgians’ fundamental right to vote in violation of the First

         and Fourteenth Amendments.

       The non-uniform and improper practices regarding in-person cancellation

         of absentee ballots (a) violate Georgians’ fundamental right to vote in

         violation of the First and Fourteenth Amendments; and (b) discriminate

         against Georgians based on where they live, in violation of the Equal

         Protection Clause of the Fourteenth Amendment.

      A. Exact Match Policy

      The SOS’s Exact Match policy and processes apply to voter registration

applications in Georgia. The Exact Match policy needlessly burdens would-be

voters by erroneously flagging people eligible to vote as “non-matches.” The

improper flags impose burdens on would-be-voters through no fault of their own.




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Defendants have not identified any evidence that the Exact Match policy prevents

voter fraud or serves any other legitimate state interest.

      Under the Exact Match policy, information from voter registration

applications is matched against information contained in either the Georgia

Department of Driver Services (DDS) or Social Security Administration (SSA)

databases. This matching process has two components: (1) matching the

applicant’s United States citizenship as reflected in DDS records; and (2) matching

the applicant’s identity, specifically the applicant’s first name; last name; date of

birth; and Georgia drivers’ license number, Georgia identification card number, or

the last four digits of the applicant’s Social Security number.

      The Exact Match citizenship matching protocol works differently for

naturalized citizens than it does for native-born citizens. The DDS database used to

“verify” citizenship is known to be outdated and unreliable. Many naturalized

citizens lawfully obtain their Georgia drivers’ licenses before becoming United

States citizens. When these non-citizens attain United States citizenship, they are

not required to update their citizenship status with DDS, and many do not do so.

As a result, when the SOS matches their citizenship status against the DDS

database, as required by the Exact Match policy, the DDS database erroneously

flags naturalized citizens as non-citizens. Neither the DDS nor SOS warns


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naturalized citizens that, unless they update their citizenship information with

DDS, they will be flagged as non-citizens when they try to register to vote.

      When the voter registration applications of naturalized citizens fail the DDS

match on citizenship, the applications are placed in “pending” status, which means

these citizens cannot vote until they provide documentary proof of citizenship to a

county election official. By contrast, the SOS requires no documentary proof of

citizenship from people who do not provide a Georgia drivers’ license number

when registering to vote. These applicants need only attest to their citizenship by

checking a box on the application form and the SOS accepts their word as true.

And Georgia residents who are native-born citizens are not required to present

documentary proof of citizenship when registering to vote, because those

registrants do not undergo a citizenship-status change that would render their

outdated DDS data erroneous.

      To match voter registration applicants’ identity (the other component of the

matching process), the Exact Match policy requires voter registration application

information—specifically the first letter of the applicant’s first name, the

applicant’s entire last name, the applicant’s birthday, and the applicant’s Georgia

drivers’ license number or Georgia identification card number—to be matched

against DDS records. If the applicant does not have a Georgia drivers’ license or


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Georgia identification card number but provides the last four digits of the

applicant’s Social Security number, the applicant’s information is sent to the Social

Security Administration for matching.

      The Exact Match policy requires these matches to be exact. Differences as

minor or irrelevant as a transposed letter or a missing hyphen or apostrophe in the

applicant’s last name will be flagged as non-matches. Identity non-matches result

in voter registration applications being placed in “Active MIDR” status (“MIDR”

for “Missing Identification Required”), and applicants must provide identification

to county election officials to vote a regular ballot.

      Data entry errors, made when county election personnel type voter

registration application information into the voter registration database so it can be

matched against the DDS or SSA databases, cause many of these match failures.

Despite their duty to obtain uniformity in county election practices, neither the

SOS nor the SEB has set statewide quality control protocols that would prevent

these data entry errors.

      Georgia law requires that people in pending or MIDR status be sent a notice

of the match failure and directions on how to cure it, but the required notice is

often ineffective. First, many applicants do not receive the notice. Second, the

notice is published only in English except in Gwinnett County, where the notice is


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also in Spanish. Thus, even if naturalized citizens receive the notice, they may not

understand what they are being told to do.

      The Exact Match policy also discriminates against voters of color, violating

the Equal Protection Clause of the Fourteenth Amendment, the Fifteenth

Amendment, and Section 2 of the Voting Rights Act (VRA). Georgia has tried to

keep voters of color from voting or having their ballots counted since the Fifteenth

Amendment was ratified. The Exact Match policy perpetuates this history of voter

suppression.

      Before adopting the Exact Match policy in 2010, the SOS, who at the time

was Brian Kemp, was told by the United States Department of Justice that the

Exact Match policy was unreliable for accurately matching identity and citizenship

and that the burdens of that unreliability would fall disproportionately on voters of

color. The SOS nonetheless adopted the policy. And, in 2018, after learning from

an analysis conducted in-house that 70 percent of the people whose voter

registration applications failed the Exact Match test were African American, the

SOS did not alleviate, or even attempt to alleviate, the disproportionate burden of

its policy on voters of color.

      The motive underlying the Exact Match policy is clear. When running for re-

election as Secretary of State in 2014, Brian Kemp warned supporters at a fund-


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raiser of the threat to his campaign posed by the large number of “minorities”

registering to vote. He repeated the theme in 2018, when he was still Secretary of

State but was running for governor, although in 2018 referred to these voters as the

Democratic Party “base.” During that same 2018 campaign, Secretary of State

Kemp ran a television campaign ad in which he boasted that he owns a big pick-up

truck so he can round up “criminal illegals.”

      Race discrimination is not the only way the Exact Match policy violates the

Equal Protection Clause. The policy also violates the Equal Protection Clause by:

(1) subjecting voters to differential treatment based on their geographic location;

and (2) treating naturalized citizens differently from native-born citizens.

      The differential treatment based on geographic location comes from counties

applying Exact Match differently. As described above, the SOS and SEB set no

statewide protocols for counties’ data entry. In addition, the SOS gives counties

discretion to disregard questionable non-matches but does not provide statewide

standards for how counties exercise that discretion. Therefore, significant

discrepancies exist among the counties’ pending and MIDR rates for voter

registration applications.

      The differential treatment based on naturalized versus native-born citizen

status is caused by the Exact Match Policy’s use of outdated DDS records to match


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citizenship status, as set forth above. Because the outdated DDS information

creates citizenship mismatches for naturalized citizens but not for native-born

citizens, only naturalized citizens are prohibited from voting until they provide

documentary proof of citizenship. Meanwhile, the SOS requires no documentary

proof of citizenship from voter registration applicants who do not provide a

Georgia drivers’ license number with their applications or who are native-born

citizens in the DDS database.

      B. Extensive Mismanagement of Statewide Voter Registration Database

      The SOS, by law, is responsible for maintaining an accurate statewide voter

database. Georgia’s voter database, called eNet, is both the backbone of the

Georgia voting system and the gateway for Georgians to be able to cast ballots and

have their ballots counted. Election personnel use eNet data to determine whether

voters can be given a ballot at the polls, whether voters are entitled to receive

absentee ballots, and whether absentee and provisional ballots should be counted.

For voters to vote and have their votes counted, eNet must be accurate.

      But ENet is not accurate. It is error-ridden. Those errors are not just the

result of occasional and unavoidable human errors. Instead, those errors result

directly and predictably from avoidable design flaws within eNet programming

itself; the nearly unfettered discretion the SOS chooses to give counties to enter,


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modify, and remove voter information in the database; and the SOS’s decision not

to place various basic and reasonable controls on county users to ensure accuracy

and consistency. The result is a voter database in which eligible voters’

registrations have been deleted erroneously and in which voter’ names, dates of

birth, voter histories, addresses, and precinct information are incorrect. These

errors lead to severe burdens on voters.

      These inaccuracies prevent eligible voters from voting or at a minimum

abridge their rights by imposing barriers beyond “the usual burdens of voting.”

Those burdens include (but are not limited to) having to travel to another location

to vote, having to first go to the county’s central election office and then having to

return to the polls to vote, or having to vote a provisional ballot—a ballot that will

not be counted unless the voter provides proof, within three days of the election, of

eligibility to have voted. The SOS has no legitimate state interest in having an

inaccurate database. Thus, the inaccuracies in eNet caused by the SOS violate

Georgians’ fundamental right to vote under the First and Fourteenth Amendments.

      C. Absentee Ballot Cancellation

      Georgia permits voters who have requested absentee ballots to cancel their

ballots and vote in person if the ballot has not yet been returned and accepted.

Voters cancel their ballots for many reasons, including not having received their


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ballots on time or out of a concern their ballots will not reach election officials by

the deadline. Voters who try to cancel their absentee ballots face a variety of

obstacles that should not exist and depend on where the voter lives. For example,

some voters trying to cancel their absentee ballots have been turned away from the

polls outright, some have been sent to the main county office, and some have been

permitted to vote only provisionally.

      These obstacles stem from inadequate SOS training of county election

superintendents and poll workers and from the failure of the SOS and SEB to

obtain statewide uniformity in county election practices. Defendants have no

legitimate state interest in improper or varied practices for cancelling absentee

ballots. These improper and geography-specific absentee ballot cancellation

practices violate Georgians’ fundamental right to vote under the First and

Fourteenth Amendments and violate the Equal Protection Clause of the Fourteenth

Amendment.

      D. Remedies

      Plaintiffs seek declaratory and injunctive relief sufficient to remedy these

unlawful practices. Plaintiffs also seek their reasonable attorney’s fees and costs.




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II.    Relevant Authority

         Relevant regulations, statutes, and ordinances creating specific legal duties

 on the Defendants include:

      1. Amendments I, XIV, and XV to the United States Constitution

      2. 42 U.S.C. § 1983

      3. Section 2 of the Voting Rights Act, 52 U.S.C. § 10301

      4. Sections 301-303 of the Help America Vote Act of 2002, 52 U.S.C.

         §§ 21081-83

      5. O.C.G.A. §§ 21-2-31, 21-2-32, 21-2-33, 21-2-33.1, 21-2-33.2, 21-2-50, 21-

         2-50.2, 21-2-99, 21-2-101, 21-2-210, 21-2-216, 21-2-220, 21-2-220.1, 21-2-

         231, 21-2-388

      6. Ga. Comp. R. & Regs. 183-1-6-.03, 183-1-14-.09

         Cases articulating Defendants’ relevant legal duties include:

      1. Burdick v. Takushi, 504 U.S. 428 (1992)

      2. Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321 (2021)

      3. Bush v. Gore, 531 U.S. 98 (2000)

      4. Thornburg v. Gingles. 478 U.S. 30 (1986)

      5. Monell v. N.Y.C. Dep’t of Soc. Servs., 436 U.S. 658 (1978)



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   6. Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252 (1977)

   7. Graham v. Richardson, 403 U.S. 365 (1971)

   8. Schneider v. Rusk, 377 U.S. 163 (1964)

   9. Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312 (11th Cir. 2019)

   10. Grizzle v. Kemp, 634 F.3d 1314 (11th Cir. 2011)

   11. Common Cause Ga. v. Kemp, 347 F. Supp. 3d 1270 (N.D. Ga. 2018)

   12. Ga. Coal. for the People’s Agenda v. Kemp, 347 F. Supp. 3d 1251 (N.D.

      Ga. 2018)

      The preceding citations are illustrative only; Plaintiffs incorporate by

reference and may rely on other authorities identified in, for example, their prior

briefing, their forthcoming motions in limine, and their Proposed Findings of Fact

and Conclusions of Law.




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